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                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA



LEAGUE OF CONSERVATION VOTERS, et al.,          )
                                                )
            Plaintiffs,                         ) Case No. 3:17-cv-00101-SLG
                                                )
      v.                                        )
                                                )
DONALD J. TRUMP, et al.,                        )
                                                )
            Defendants.                         )
________________________________________________)

DEFENDANTS' MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
           THEIR MOTION FOR SUMMARY JUDGMENT AND
    OPPOSITION TO PLAINTIFFS' MOTION FOR SUMMARY JUDGMENT




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I.     INTRODUCTION

       On April 28, 2017, President Donald J. Trump issued the Executive Order Implementing

an America-First Offshore Energy Strategy, citing his authority under the "Constitution and the

laws of the United States of America, including the Outer Continental Shelf Lands Act, 43

U.S.C. [§] 1331 et seq." ("OCSLA") and finding that "[i]ncreased domestic energy production on

Federal lands and waters strengthens the Nation's security and reduces reliance on imported

energy." Exec. Order No. 13795, 82 Fed. Reg. 20815 (Apr. 28, 2017) (ECF No. 13-1).

Consistent with this policy, the President modified President Barack H. Obama's prior

withdrawals of certain areas of the Outer Continental Shelf ("OCS") from oil, gas, and other

mineral leasing, allowing the Secretary of the Interior to include such areas for consideration in

any future leasing program. Id. § 5. Plaintiffs challenge this Executive Order, claiming it is an

improper exercise of the President's authority under the governing statutes and the U.S.

Constitution. Defendants are entitled to summary judgment under Federal Rule of Civil

Procedure 56. In addition, Plaintiffs' motion for summary judgment should be denied.

       As a threshold matter, Plaintiffs have failed to demonstrate standing. The harm they

allege cannot be redressed by the relief they seek. Geological and geophysical surveys can and

do occur even in withdrawn areas; therefore, declaring Executive Order 13795 invalid would not

address or prevent the harm of which they complain. Moreover, the harm they allege to be

attributable to potential leases made possible by the Executive Order is not imminent.

       In any event, Plaintiffs' claims have no merit. President Trump lawfully exercised his

authority under the U.S. Constitution and OCSLA to modify President Obama's prior

withdrawal, allowing certain areas to again be considered for oil and gas leasing. Nothing in

OCSLA suggests permanency or irrevocability of Presidential withdrawals, nor does OCSLA

restrict the exercise of the President's constitutional and statutory authority to modify a prior


                                              1
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withdrawal. Indeed, no President exercising withdrawal authority has done so consistent with

Plaintiff's theory of permanent and irreversible withdrawal power. To the contrary, Presidents

have modified withdrawals on at least three occasions – a practice in which Congress has

acquiesced. Contrary to this established practice, Plaintiffs advance a novel and sweeping legal

theory under which a President could withdraw the entire Outer Continental Shelf from leasing

and thereafter that President, and every subsequent President, would be powerless to implement

federal offshore leasing absent an Act of Congress. Apart from encroaching on the President's

Constitutional responsibility to provide for national security, Plaintiffs' theory has no support in

the text or legislative history of OCSLA, and would undermine the Act's purpose to make the

minerals of the continental shelf available for exploration and development. Accordingly,

Defendants are entitled to summary judgment.

II.     THE CHALLENGED EXECUTIVE ORDER AND STATUTORY BACKGROUND

        A. The Unique Nature of the Outer Continental Shelf

        As with the mineral resources on most federal land, under the Property Clause of the

Constitution, Congress has authority over the disposition of the mineral resources of the OCS –

that vast area extending from the end of the State's jurisdiction (generally 3 miles) to 200

nautical miles seaward of the United States' shoreline. U.S. Const. art. IV § 3; Ctr. for

Sustainable Econ. v. Jewell, 779 F.3d 588, 592 (D.C. Cir. 2015). Unlike onshore mineral

resources located on most federal lands, however, the management and disposition of the

resources on the OCS also implicate the President's authority to provide for national security and

conduct foreign affairs. U.S. Const. art. II § 2. In fact, it was under Article II of the U.S.

Constitution that President Harry S. Truman first exercised the United States' control over the

natural resources of the OCS. Specifically, the "Truman Proclamation" in 1945, informed other

nations that:


                                               2
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       the Government of the United States regards the natural resources of the subsoil
       and sea bed of the continental shelf beneath the high seas but contiguous to the
       coasts of the United States as appertaining to the United States, subject to its
       jurisdiction and control.

Proclamation No. 2667, 10 Fed. Reg. 12,303 (Sept. 28, 1945). 1 Prior to OCSLA's enactment,

President Truman also relied on his constitutional powers to issue Executive Order 10426 on

January 16, 1953, setting aside the Continental Shelf as a naval petroleum reserve. See 18 Fed.

Reg. 405 (Jan. 16, 1953).

       In 1961, the United States' rights to the submerged lands on the Outer Continental Shelf

were further defined, and to a certain extent limited, when the United States ratified the 1958

Convention on the Continental Shelf. The Convention describes such rights in terms of their

purpose: "The coastal State exercises over the continental shelf sovereign rights for the purpose

of exploring it and exploiting its natural resources." Convention on the Continental Shelf, art. 2,

Apr. 29, 1958, [1964] 15 U.S.T. 471, T.I.A.S. No. 5578, in force June 10, 1964.

       Since first asserting jurisdiction over the OCS, the United States has viewed the authority

to manage the mineral resources of the Shelf as stemming from both the Property Clause and the

President's Article II authority. For instance, in referring to the Truman Proclamation, the Office

of Legal Counsel of the Department of Justice stated that:

       the President's constitutional power as the representative of the United States in
       foreign relations includes the authority to claim portions of the sea for the United
       States for purposes of international law. . . . This Office approved the [Truman]
       Proclamation and advised that it was lawful both as a statement of national policy
       in foreign affairs and as an expansion of the territorial jurisdiction of the United
       States.




1 Before Congress took any action with regard to the continental shelf, the Supreme Court

affirmed this Presidential assertion of jurisdiction under Article II against challenges brought by
coastal states. United States v. California, 332 U.S. 19 (1947); United States v. Louisiana, 339
U.S. 699 (1950); United States v Texas 339 U.S. 707 (1950).


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O.L.C. 238, 245 (1988).

       B. The Outer Continental Shelf Lands Act and the Leasing Program

       Congress, too, exercised authority in the OCS by passing OCSLA in August 1953. In

doing so, Congress made clear that the purpose for the United States' control over the OCS was

to make available its mineral resources for development:

       The principal purpose of [OCSLA] is to authorize the leasing by the Federal
       Government of . . . the shelf.

H.R. Rep. No. 83-413 at 2 (1953), reprinted in 1953 U.S.C.C.A.N. 2177, 2178 (ECF No. 13-3).

Thus, the central purpose of OCSLA was to allow for development of oil, gas, and other mineral

resources. As one court has stated, the Act "consists almost exclusively of specific measures to

facilitate exploitation of natural resources on the continental shelf." Treasure Salvors, Inc. v.

Unidentified Wreck & Abandoned Sailing Vessel, 569 F.2d 330, 339 (5th Cir. 1978).

       Even when OCSLA was amended in 1978 to enhance the consideration of environmental

and economic risks and benefits of mineral development, the focus of the statute remained the

development of the minerals found on the OCS:

       the outer Continental Shelf is a vital national resource reserve held by the Federal
       Government for the public, which should be made available for expeditious and
       orderly development, subject to environmental safeguards, in a manner which is
       consistent with the maintenance of competition and other national needs.

43 U.S.C. § 1332(3).

       As amended, OCSLA sets forth a four-step detailed procedure for developing offshore

minerals. This procedure begins with a five-year program of proposed lease sales in areas of the

OCS, followed by a more in-depth presale process for each lease sale that is authorized in the

five-year program. See 43 U.S.C. §§ 1344, 1345. After a competitive sale is held, the Department

issues individual leases that contain terms designed to protect the environment from the risks


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identified by analyses performed pursuant to the National Environmental Policy Act. See id. §

1337(a); 42 U.S.C. §§ 4321-4370m-12. Lessees thereafter submit exploration plans and, upon

discovery of commercial quantities of minerals, development plans. These plans are reviewed in

consultation with state and local governments, and must be approved for exploration and

development to occur. See 43 U.S.C. §§ 1340, 1351; Ctr. for Sustainable Economy, 779 F.3d at

594; Native Village of Point Hope v. Jewell, 740 F.3d 489, 493 (9th Cir. 2014). 2

        C. The Permitting of Geological and Geophysical Surveys

        Separate and apart from the leasing program, OCSLA also provides a permitting process

for conducting geological and geophysical surveys to investigate the potential for oil and gas

resources in the area, which also may assist in assessing the potential risks and benefits of

investing the substantial resources required to explore and develop offshore oil and gas

resources. Section 11 of OCSLA provides that:

        any person authorized by the Secretary [of the Interior] may conduct geological
        and geophysical explorations in the outer Continental Shelf, which do not
        interfere with or endanger actual operations under any lease maintained or granted
        pursuant to this subchapter, and which are not unduly harmful to aquatic life in
        such area.

43 U.S.C. § 1340(a)(1).

        The Department of the Interior requires a permit to conduct any geological or

geophysical exploration on unleased land and land leased to another party. 30 C.F.R. § 551.4(a). 3

In order to be permitted, a geological or geophysical survey "must not," among other things,

"[c]ause harm or damage to life (including fish and other aquatic life), property, or to the marine,



2 For more detail on the leasing program, see the Memorandum in Support of Defendants'

Motion to Dismiss, 5-6, ECF No. 13 ("Def.'s Mem."), and the authorities cited therein.
3 Certain survey activities  for scientific research require only a notice, but they are subject to the
same requirements under 30 C.F.R. § 551.6. Plaintiffs have not challenged the authorization of
these scientific activities and therefore they are not addressed here in detail.


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coastal, or human environment . . . ." Id. § 551.6(a)(2); see also 43 U.S.C. § 1340(g). Moreover,

any such surveys must not unreasonably interfere with or cause harm to other uses of the area,

and must not create hazardous or unsafe conditions. 30 C.F.R. § 551.6(a)(6)-(7).

       In addition to OCSLA's prohibition against permitted surveys causing harm or damage to

aquatic life, other applicable statutes help protect environmental resources. For example, the

marine mammals that Plaintiffs discuss are protected under the Marine Mammal Protection Act.

16 U.S.C. §§ 1361-1423h. This statute places a moratorium on the taking of marine mammals

and marine mammal products except when such takes are incidental to certain activities. Id. §

1371(a). The National Marine Fisheries Service and the Fish and Wildlife Service have issued

regulations governing such "incidental takes" – including regulations that would govern the

geological and geophysical survey activities permitted by the Bureau of Ocean Energy

Management ("BOEM") pursuant to 30 C.F.R. Part 551. See 50 C.F.R. pts. 18, 216. Therefore,

an entity seeking to conduct geological or geophysical surveys that could result in the taking of

marine mammals would be expected to obtain an incidental take authorization and undertake any

mitigation required by the authorization (or risk penalties or prosecution under the Marine

Mammal Protection Act in the event of an unpermitted take). 16 U.S.C. § 1371(a)(5) (allowing

the National Marine Fisheries Service or the Fish and Wildlife Service to authorize the

incidental, but not intentional taking of small numbers of marine mammals upon a finding that

such take will have a negligible impact on marine mammal species or stocks and will not have an

unmitigable adverse impact on subsistence uses of marine mammals). If any such proposed

survey could affect endangered or threatened species, the authorizing agency would be required

to engage in consultation under Section 7 of the Endangered Species Act. 16 U.S.C. § 1536(a)(2)

(directing federal agencies to consult with the Services to ensure that any action authorized,




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funded, or carried out by the federal agency is not likely to jeopardize the continued existence of

any listed endangered or threatened species or result in the destruction or adverse modification of

designated critical habitat). 4

        Notably, entities seeking to conduct geological and geophysical surveys can obtain a

permit in any area of the OCS, including those areas that have been withdrawn from leasing, if

they otherwise meet the requirements of the OCSLA permitting regulations and other applicable

law, such as the Marine Mammal Protection Act and the Endangered Species Act. See 43 U.S.C.

§ 1340; 30 C.F.R. pt. 551. The withdrawal authority in Section 12(a) of OCSLA applies only to

disposition of minerals; an authorization to explore without the rights to remove minerals is not

affected by a decision under Section 12(a). BOEM can and does permit geological and

geophysical survey activities in areas currently subject to a Presidential withdrawal.

Accordingly, Executive Order 13795 had no legal effect on the conduct of such surveys, which

are authorized under a specific section of OCSLA separate from the sections of OCSLA that

govern the issuance of leases and the management of mineral exploration and development.

Compare 43 U.S.C. §1337 with id. § 1340.

        D. Withdrawals from the Leasing Program

        Executive Order 13795 did, however, have a legal effect on leasing (and thereby

development activities), fully in accordance with OCSLA. In Section 12(a) of the Act, Congress

provided that the President "may, from time to time, withdraw from disposition any of the



4 Obligations to comply with the OCSLA performance standards also apply to on-lease
geological and geophysical surveys. While certain surveys may be conducted as an "ancillary
activity" under a lease, any activity that could cause "undue or serious harm or damage to the
human, marine, or coastal environment" is required to be included in an exploration or
development plan for review and approval. See 30 C.F.R. § 550.209 (referring to 30 C.F.R.
§ 550.202(e)). Other requirements under the Endangered Species Act and Marine Mammal
Protection Act may apply and could include mitigation measures and monitoring.


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unleased lands of the outer Continental Shelf." 43 U.S.C. § 1341(a). This provision is a narrow

exception to the primary purpose of OCSLA – to manage the development of the mineral

resources in the OCS.

       Section 12(a) has been invoked only a limited number of times since the passage of

OCSLA in 1953:

       1. 1960. President Eisenhower established the Key Largo Coral Reef Preserve. See

           Proclamation No. 3339, Establishing the Key Largo Coral Reef Preserve, 25 Fed.

           Reg. 2352 (Mar. 15, 1960) (ECF No. 13-6).

       2. 1969. Secretary of the Interior Walter Hickel provided notice that certain areas were

           "withheld from leasing as an adjunct to the" creation of the Santa Barbara Channel

           Ecological Preserve. See Public Land Order No. 4587, 34 Fed. Reg. 5655, 5656 (Mar.

           26, 1969) (ECF No. 13-7).

       3. 1990. President George H.W. Bush supported the congressional moratorium of

           offshore oil and gas leasing and development in much of the OCS in a statement

           issued June 26, 1990, that was later confirmed to be an exercise of Section 12(a)

           authority. See Memorandum for the Secretary of the Interior (Aug. 4, 1992) (ECF No.

           13-9) (clarifying an earlier Presidential statement supporting a moratorium for ten

           years, Statement on Outer Continental Shelf Oil and Gas Development, 26 Weekly

           Comp. Pres. Doc. 1006 (June 26, 1990) (ECF No. 13-8)). In the August 1992

           memorandum, President Bush noted that the withdrawal of the areas of OCS were

           "subject to revocation should the President determine the scheduling of a lease sale to

           be required in the interest of national security." Memorandum re Outer Continental

           Shelf Oil and Gas Program for 1992-1997 (Aug. 4, 1992) (ECF No. 13-9).




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4. 1998. President Clinton withdrew, for a limited time, certain areas of the OCS, and

   withdrew other areas for "a time period without specific expiration." Like President

   Bush, President Clinton noted that his withdrawals of areas of the OCS under Section

   12(a) of OCSLA were also "subject to revocation by the President in the interest of

   national security." Memorandum on Withdrawal of Certain Areas of the United States

   Outer Continental Shelf from Leasing Disposition, 34 Weekly Comp. Pres. Docs.

   1111, 1111 (June 12, 1998) (ECF No. 13-10).

5. 2007. President George W. Bush modified the 1998 withdrawal of areas from leasing

   for a limited time to match a Congressional moratorium. See Memorandum on

   Modification of the June 12, 1998, Withdrawal of Certain Areas of the United States

   Outer Continental Shelf from Leasing Disposition, 43 Weekly Comp. Pres. Docs. 19,

   19 (Jan. 9, 2007) (ECF No. 13-11).

6. 2008. President George W. Bush modified the withdrawal of areas of the OCS from

   leasing disposition, limiting the withdrawal to those areas designated as of July 14,

   2008, as Marine Sanctuaries under the Marine Protection, Research, and Sanctuaries

   Act. See Memorandum on Modification of the Withdrawal of Areas of the United

   States Outer Continental Shelf from Leasing Disposition, 44 Weekly Comp. Pres.

   Docs. 986 (July 14, 2008) (ECF No. 13-12).

7. 2010. President Obama withdrew the area of Bristol Bay from leasing for the period

   through June 30, 2017. Memorandum on Withdrawal of Certain Areas of the United

   States Outer Continental Shelf from Leasing Disposition, 2010 Daily Comp. Pres.

   Docs. 1, 1 (Mar. 31, 2010) (ECF No. 13-13).




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      8. 2014. President Obama revoked his 2010 withdrawal and imposed a withdrawal for

          the same area for "a time period without specific expiration . . . ." Memorandum on

          Withdrawal of Certain Areas of the United States Outer Continental Shelf from

          Leasing Disposition, 2014 Daily Comp. Pres. Docs. 1, 1 (Dec. 16, 2014) (ECF No.

          13-14).

      9. 2015. President Obama withdrew the Chukchi and Beaufort Sea planning areas "for a

          time period without specific expiration . . . ." Memorandum on Withdrawal of Certain

          Areas of the United States Outer Continental Shelf Offshore Alaska from Leasing

          Disposition, 2015 Daily Comp. Pres. Docs. 1, 1 (Jan. 27, 2015) (ECF No. 13-15).

      10. 2016. In three separate actions, President Obama withdrew areas of the Atlantic

          Ocean and several offshore Alaska Areas from leasing, each for "a time period

          without specific expiration." Memorandum on Withdrawal of Certain Areas off the

          Atlantic Coast on the Outer Continental Shelf from Mineral Leasing, 2016 Daily

          Comp. Pres. Docs. 1, 18 (Dec. 20, 2016) (ECF No. 13-17); Memorandum on

          Withdrawal of Certain Portions of the United States Arctic Outer Continental Shelf

          from Mineral Leasing, 2016 Daily Comp. Pres. Docs. 1, 18 (Dec. 20, 2016) (ECF No.

          13-18); Exec. Order No. 13754 - Northern Bering Sea Climate Resilience, 81 Fed.

          Reg. 90,669, 90,670 (Dec. 9, 2016) (ECF No. 13-16).

      E. The Challenged Executive Order – Executive Order 13795

      The challenged Executive Order Implementing an America-First Offshore Energy

Strategy announced

      the policy of the United States to encourage energy exploration and production on
      the Outer Continental Shelf, in order to maintain the Nation's position as a global
      energy leader and foster energy security and resilience for the benefit of the
      American people, while ensuring that any such activity is safe and
      environmentally responsible.


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Exec. Order No. 13,795 § 2, 82 Fed. Reg. at 20,815 (ECF No. 13-1). To implement this policy

the President took three categories of action: (1) modified previous actions by President Obama

to withdraw certain areas of the OCS from oil and gas development (id. § 5); (2) directed the

Secretary of the Interior to reconsider certain regulations and policies (id. §§ 3, 6, 7, 8, 9, 11);

and (3) directed the Secretary of Commerce to reconsider certain Marine Sanctuaries,

regulations, and permitting programs (id. §§ 4, 9, 10). Plaintiffs challenge only the modification

of President Obama's earlier withdrawal.

III.    ARGUMENT

        Following in the footsteps of both Presidents George W. Bush and Obama, President

Trump modified the prior withdrawals of areas of the OCS for mineral leasing. While this step

was crucial to ensuring the nation's security and economic vitality, it is a preliminary step which

simply allows the Secretary of the Interior to consider leasing in the areas visited and used by the

members of the Plaintiff organizations.

        Defendants are entitled to summary judgment on Plaintiffs' claims. At the outset,

 Plaintiffs cannot and do not meet their burden of establishing standing to challenge Executive

 Order 13795. The harm they seek to prove is not caused by the Executive Order and will not be

 redressed by declaring the Executive Order invalid. Moreover, to the extent Plaintiffs allege

 they may suffer injuries when exploration, leasing, or development occurs, the time to invoke

 the Court's jurisdiction is then and not now. See Ohio Forestry Ass'n. v. Sierra Club, 523 U.S.

 726, 733-734 (1998). Thus, Plaintiffs' lack of standing mandates summary judgment in

 Defendants' favor.

        Plaintiffs are also simply wrong when they assert that President Trump's actions are ultra

 vires or in violation of OCSLA. OCSLA is a statute grounded not only in the Property Clause

 of the U.S. Constitution, but also the constitutional authority of the President to provide for


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 national security and conduct foreign affairs. It is also a statute with an express purpose of

 developing the minerals found in the OCS. See 43 U.S.C. § 1332(3). In this context, because

 there is no express prohibition on the modification of prior withdrawals, Executive Order 13795

 falls squarely within the authority granted under the U.S. Constitution and OCSLA. This

 conclusion is even firmer in light of the prior presidential modifications of withdrawals

 pursuant to OCSLA. Accordingly, Defendants are entitled to judgment in their favor as a matter

 of law.

       In any event, Plaintiffs' claim for relief seeks an injunction against the President, yet they

 fail to show that such extraordinary relief is appropriate under the circumstances—or even that

 it would redress their alleged injuries. See Franklin v. Massachusetts, 505 U.S. 788, 796-801

 (1992); id at 827 (Scalia, J., concurring). For all of these reasons, Defendants are entitled to

 summary judgment and Plaintiffs' motion for summary judgment should be denied.

       A.      Standard for a Motion for Summary Judgment

       Pursuant to Federal Rule of Civil Procedure 56, summary judgment is appropriate when

there are no genuine issues of material fact and the moving party is entitled to judgment as a

matter of law. Fed. R. Civ. P. 56(a). Solely for purposes of summary judgment, Defendants do

not assert any genuine issues of material fact,5 and therefore, the only question to be decided on

both the Defendants' and Plaintiffs' motions for summary judgment is whether either party is

entitled to judgment as a matter of law. See Henry v. Wregglesworth, No. 3:13–cv–00208-SLG,

2015 WL 2185074, at *1 (D. Alaska May 11, 2015). Here, the Defendants have established that




5 Defendants reserve the right to conduct discovery regarding Plaintiffs' standing should this case

proceed past the summary judgment stage.


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they are entitled to judgment as a matter of law, and Plaintiffs' motion for summary judgment

should be denied.

        B. Plaintiffs Lack Article III Standing 6

        Plaintiffs bear the burden of establishing facts sufficient to satisfy the three minimum

requirements of standing and cannot simply rely on allegations. Lujan v. Defenders of Wildlife,

504 U.S. 555, 561 (1992); Order re Motions to Dismiss 14, ECF No. 45. The requirement for

standing is not a mere formality – it is a constitutional requirement to ensure that the Court is

deciding a true case or controversy, that is, a dispute that is "appropriately resolved through the

judicial process." Lujan, 504 U.S. at 560 (quoting Whitmore v. Arkansas, 495 U.S. 149, 155

(1990)). Accordingly, "each element must be supported in the same way as any other matter on

which the plaintiff bears the burden of proof, i.e., with the manner and degree of evidence

required at the successive stages of the litigation." Id. at 561. At the summary judgment stage,

Plaintiffs must set forth specific facts supporting their standing allegations. Id. Plaintiffs have not

demonstrated on summary judgment that Executive Order 13795 poses a sufficiently likely or

imminent harm that can be redressed by the relief they seek. Accordingly, they lack standing to

challenge Executive Order 13795 and Defendants are entitled to judgment as a matter of law on

this threshold issue.

                1. Plaintiffs' Alleged Harm Cannot Be Redressed by the Relief they Seek

        Plaintiffs rely upon a projected increase in geological and geophysical surveys to

demonstrate that they have suffered a concrete, particularized harm that can be redressed by the

relief they seek. Mem. in Supp. of Pls.' Mot. for Summ. J. 9-18, ECF No. 51 ("Pls.' Mem.").



6 For the reasons set forth in the Memorandum in Support of the Defendants' Motion to Dismiss

ECF 13, 16-25, Plaintiffs also lack standing because they have failed to establish a particularized
harm.


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They fail, however, to demonstrate any imminent injury flowing from the Executive Order, or

that there is a sufficient causal relationship between the Executive Order and the harm they

allege. Plaintiffs' failure to show that their alleged injury is "imminent" or "fairly traceable" to

the challenged action destroys Plaintiffs' claim of standing. See, e.g., Friends of the Earth, Inc. v.

Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180–81 (2000) (requiring plaintiff to show: (1)

"an 'injury in fact' that is (a) concrete and particularized and (b) actual or imminent, not

conjectural or hypothetical; (2) the injury is fairly traceable to the challenged action of the

defendant; and (3) it is likely, as opposed to merely speculative, that the injury will be redressed

by a favorable decision").

       Notably, Plaintiffs have only challenged the President's authority to modify prior

withdrawals under OCSLA. See Compl. 22, ECF No. 1 (Plaintiffs' Prayer for Relief seeking only

a declaration and injunction with respect to Section 5 of Executive Order 13795); Def.'s Mem.

Ex. 1 at 3, ECF No. 13-1 (showing that Section 5 of Executive Order 13795 does not address or

affect the geological and geophysical permit program). Declaring Section 5 of Executive Order

13795 invalid or even enjoining implementation of that section would not redress the harm that

Plaintiffs cite to support their claim of standing – even without the Executive Order, the

Department of the Interior can and does permit geological and geophysical surveys on lands that

have been withdrawn under OCSLA Section 12(a),7 subject to the requirements under OCSLA,

the Endangered Species Act, and the Marine Mammal Protection Act. 8




7 For example, BOEM has issued multiple     geological and geophysical survey permits in the Gulf
of Mexico that included survey activities in the Flower Gardens Banks National Marine
Sanctuary, even after designated National Marine Sanctuaries were withdrawn pursuant to
OCSLA Section 12(a) from leasing consideration.
8 To the extent Plaintiffs complain of surveys that may be completed on leased lands, their

arguments fail for lack of imminence as demonstrated below. See also supra footnote 4.


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       Plaintiffs seek to obfuscate this causal break by arguing that Executive Order 13795

"promotes" activities related to oil and gas exploration. Plts.' Mem. 10. In support of their

argument, Plaintiffs cite the Department of the Interior's Resource Evaluation Report Geological

and Geophysical Data Acquisition for the Outer Continental Shelf through 2016. But sections of

that report not attached to Plaintiffs' brief show that in 2007, 2011, and 2015—each a year in

which the applicable Five-Year Program offered no leases in the vast majority of the Arctic—

geological and geophysical surveys covering hundreds or thousands of miles were conducted in

the Arctic. See Kumkum Ray, Resource Evaluation Report: Geological & Geophysical Data

Acquisition at 20 (OCS Report BOEM 2017-02) (Ex. 1). Similarly, in 2003 and 2008, geological

and geophysical surveys were conducted in the Atlantic, despite the lack of opportunity to lease

in that area. Id. at 24. The pending permit applications for surveys in the Atlantic were submitted

without Atlantic sales being authorized in a five-year program, and they were not withdrawn

when a prior Secretary discontinued the consideration of such sales at the Proposed Program

stage of the 2017-22 Program. 9




9 See Atlantic G&G permit applications     filed between March 21 and October 16, 2014,
https://www.boem.gov/Currently-submitted-Atlantic-OCS-Region-Permits/ (Last accessed on
July 18, 2018) (when no Atlantic lease sales were scheduled in 2012-2017 OCS Oil and Gas
Leasing Program); see Department of the Interior, Bureau of Ocean Energy Management,
Memorandum of Approval and Record of Decision for the Five Year Outer Continental Shelf
(OCS) Oil and Gas Leasing Program for 2012-2017 (Aug. 27, 2012), https://www.boem.gov/5-
year/2012-2017/ (Last accessed on July 18, 2018). The above G&G permit applications are
currently under evaluation and were not withdrawn when the Department of the Interior decided
not to schedule lease sales in the Atlantic OCS as part of the 2017-2022 OCS Oil and Gas
Program. See Department of the Interior, Bureau of Ocean Energy Management, 2017-2022
Outer Continental Shelf Oil & Gas Leasing Proposed Program, p. S-8 (Mar 2016),
https://www.boem.gov/2017-2022-Proposed-Program-Decision/ (Last accessed on July 18,
2018).


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        In sum, the harm that Plaintiffs assert – damage from geological and geophysical surveys

– is not caused by Section 5 of Executive Order 13795 and will not be redressed by declaring

that section of the Executive Order invalid (the relief the Plaintiffs seek). Accordingly, Plaintiffs

have failed to establish standing sufficient to bring their claims for relief.

                2. Plaintiffs' Alleged Injury Is Not Imminent

        Plaintiffs have also failed to establish the harm they allege is imminent. Plaintiffs could

challenge any issuance by BOEM of permits for geological or geophysical surveys, as well as

any issuance of incidental take authorizations or final Endangered Species Act Section 7

consultations in a properly formulated action under the Administrative Procedure Act ("APA"), 5

U.S.C. chapter 5. At any such time, the Court would be presented with a truly concrete question.

        Plaintiffs' reliance on In Re Zappos.com, Inc., 888 F.3d 1020 (9th Cir. 2018), to establish

their claims are imminent, is misplaced. In Zappos, the plaintiffs brought a class action alleging

an imminent risk of identity theft resulting from the theft of personally identifying information

from Zappos' servers. In that case, the court found the future harm resulting from identity theft

using the data stolen from Zappos was imminent because the thieves had all the necessary

information to accomplish identity theft. Id. at 1027. The decision necessarily turned on

assessing the probability of an unknowable future event (harm from potential misuse of private

personal information), and thus the Zappos court was precautionary and assumed that the harm

was likely "enough" to occur. By contrast, in the case at bar, there are several additional, known

steps that must occur before the alleged harm can occur. Moreover, while the Zappos plaintiffs

would have no further opportunity to intervene or challenge the use of their personal data,

Plaintiffs here will have several opportunities to bring properly formulated actions pursuant to

the APA: the issuance of a new Five-Year Program, the sale of a particular lease, the issuance of




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a geological and geophysical survey permit, etc. The opportunity to challenge any future

geological and geophysical survey permit provides a safeguard that was missing in Zappos.

       Therefore, the case at bar is more akin to the Supreme Court's decision in Clapper v.

Amnesty International USA, 568 U.S. 398 (2013), cited in Zappos. In Clapper, the plaintiffs were

attorneys and other organizations assisting prisoners. The plaintiffs in that case challenged the

surveillance procedures authorized by the Foreign Intelligence Surveillance Act of 1978, 50

U.S.C. § 1881a, claiming that there was "an objectively reasonable likelihood" that their

privileged communications would be captured by the surveillance procedures. 568 U.S. at 410.

The Supreme Court found such a claim insufficient to establish standing. The Court identified a

series of future steps that had to occur before the plaintiffs' communications would be captured

and rejected this potential chain of events as a basis for standing: "In the past, we have been

reluctant to endorse standing theories that require guesswork as to how independent

decisionmakers will exercise their judgment. . . . We decline to abandon our usual reluctance . . .

." Id. at 415 (citing Whitmore v. Arkansas, 495 U.S. 149, 158 (1990)).

       Like the plaintiffs in Clapper, here Plaintiffs are assuming a series of decisions will be

made in a particular manner in order to establish an imminent harm. The Secretary of the Interior

retains a significant amount of discretion under Executive Order 13795. Specifically, Section 3

of Executive Order 13795 directs that the Secretary "give full consideration" to revising the

current Five-Year Program. Where the Executive Order leaves such discretionary decisions for

the future, the Plaintiffs cannot presume the outcome of those decisions to establish standing.

Such a theory of standing would require the kind of "guesswork" rejected by the Supreme Court

in Clapper. 568 U.S. at 413. Accordingly, Defendants are entitled to judgment as a matter of law

that Plaintiffs lack standing and therefore cannot bring their claims.




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       C. Plaintiffs' Claims Are Not Ripe 10

       For the same reasons that Plaintiffs have failed to establish standing, they have failed to

demonstrate that their claims are ripe. This Court has recognized that the doctrine of ripeness has

two components: the constitutional component and the prudential considerations. Order at 24 n.

115, ECF No. 45. The constitutional component of ripeness "is coextensive with the injury-in-

fact requirement of standing." Id. In other words, a "claim is not ripe for adjudication if it rests

upon 'contingent future events that may not occur as anticipated, or indeed may not occur at all.'"

Texas v. United States, 523 U.S. 296, 300 (1998); see also Am. Petroleum Inst. v. EPA, 683 F.3d

382, 386 (D.C. Cir. 2012). As demonstrated above, Plaintiffs have failed to establish that their

alleged harm is imminent or causally related to the challenged action. This failure also

demonstrates that their claims are not constitutionally ripe.

        "In assessing the prudential ripeness of a case, [courts] focus on two aspects: the 'fitness

of the issues for judicial decision' and the extent to which withholding a decision will cause

'hardship to the parties.'" Am. Petroleum Inst., 683 F.3d at 387. The "fitness" factor depends "on

whether the issues are purely legal, whether consideration of the issues would benefit from a

more concrete setting, and whether the agency's actions are sufficiently final." In re Aiken Cty.,

645 F.3d 428, 434 (D.C. Cir. 2011). Here, each subsequent action of which Plaintiff complains

will present a more complete factual and legal controversy for the Court to decide. The permits,

incidental take authorizations, five-year programs, and other actions that may occur should the




10 Defendants respectfully reassert the arguments set forth in ECF No. 13, § IV.E. and ECF No.

38, § II. Though the Court has ruled on the questions of ripeness, sovereign immunity and the
need for a private right of action, Defendants respectfully request reconsideration of that ruling.
See Jenkins v. City of Riverside, 398 F.3d 1093, 1094 n.2 (9th Cir. 2005) (per curiam) ("The law
of the case doctrine is not an absolute bar to reconsideration of matters previously decided."
(quoting Leslie Salt Co. v. United States, 55 F.3d 1388, 1393 (9th Cir. 1995))).


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Secretaries choose to issue them are all subject to challenge in a properly formulated claim

brought pursuant to the APA.

        In an action challenging these specific activities, the Court would be faced not with an

embryonic decision to consider additional leasing but rather with an administrative record that

would provide a robust evidentiary basis on which to assess an identifiable and specific agency

action pursuant to the applicable statute (e.g., OCSLA), which evidence could include the

delicate balance of the needs of our economy, national security, and environment. Just as the

Supreme Court in National Park Hospitality Ass'n v. Dep't of the Interior, 538 U.S. 803 (2003),

concluded that the challenged decisions were not ripe for review absent a "concrete action"

affecting the challengers, it is clear here that the challenge to Executive Order 13795 is not ripe

without some specific lease, permit, or authorization to evaluate.

        D. Plaintiffs Lack an Applicable Waiver of Sovereign Immunity 11

        The Plaintiffs bear "the burden of establishing that its action falls within an unequivocally

expressed waiver of sovereign immunity by Congress." Dunn v. Black, P.S. v. United States, 492

F.3d 1084, 1088 (9th Cir. 2007). The fact that Plaintiffs assert constitutional claims does not

change the requirement to find a waiver of sovereign immunity. The ultra vires doctrine upon

which Plaintiffs rely is a narrow exception that allows a plaintiff to overcome a sovereign

immunity claim only upon a showing that the public official (1) lacked statutorily delegated

authority; or (2) exceeded the scope of statutorily conferred authority. Larson v. Domestic &

Foreign Commerce Corp., 337 U.S. 682, 689-90 (1949).




11 Defendants respectfully reassert the arguments set forth in ECF No. 13, §IV.B. and ECF No.

38, § III.


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          As demonstrated below, the President's issuance of Executive Order 13795 was a valid

exercise of his constitutional and statutory authority. Accordingly, the action was one as a

sovereign and not a constitutionally impermissible individual action. Larson, 337 U.S. at 698.

Moreover, mere allegation of error by the public official in the exercise of authority is not

sufficient to survive a claim of sovereign immunity. Id. at 698. Because President Trump was

acting as a sovereign, Plaintiffs must identify an applicable waiver of sovereign immunity. They

have failed to do so and therefore, have no established a right to bring their claims to this Court.

          E. Plaintiffs Lack a Private Right of Action 12

          "Like substantive federal law itself, private rights of action to enforce federal law must be

created by Congress." Alexander v. Sandoval, 532 U.S. 275, 286 (2001). "To create a private

right of action, Congress must 'speak with a clear voice,' and the statute must 'unambiguously'

express the intent 'to create not just a private right but also a private remedy.'" Clear Sky Car

Wash LLC v. City of Chesapeake, 743 F.3d 438, 444 (4th Cir. 2014) (alteration omitted) (quoting

Gonzaga Univ. v. Doe, 536 U.S. 273, 280, 283, 284 (2002)). Where the necessary intent is

absent, "a cause of action does not exist and courts may not create one." Sandoval, 532 U.S. at

286-87.

          Plaintiffs fail to identify any statute that provides them a right of action to enforce their

alleged rights under OCSLA and the Property Clause. Notably, they allege that they "have a right

of action to seek redress for official actions by the President that violate the Constitution" and "a

right of action to redress unlawful official action by the President" under OCSLA, but cite no

relevant legal authority. See Compl. ¶¶ 56, 63. Without a specific grant of a private right of




12 Defendants respectfully reassert the arguments set forth in ECF No. 13, § IV.C. and ECF No.

38, § IV.


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action, "a cause of action does not exist and courts may not create one, no matter how desirable

that might be as a policy matter." Lonberg v. City of Riverside, 571 F.3d 846, 848 (9th Cir. 2009)

(quoting Sandoval, 532 U.S. at 286-87).

         Moreover, even if Plaintiffs had directed their claims against the Secretaries of the

Interior and Commerce—which they did not—the claims would still fail for lack of a private

right of action, because Plaintiffs did not invoke the APA as to those two agencies. The APA

provides that a "person suffering legal wrong because of agency action, or adversely affected or

aggrieved by agency action within the meaning of a relevant statute, is entitled to judicial review

thereof." 5 U.S.C. § 702. The APA authorizes a reviewing court to "hold unlawful and set aside

agency action" that is "arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law" or "contrary to constitutional right, power, privilege, or immunity," 5

U.S.C. § 706(2)(A)-(B), and to "compel agency action unlawfully withheld or unreasonably

delayed," 5 U.S.C. § 706(1). The APA thus provides a "comprehensive remedial scheme" for a

"person 'adversely affected' . . . by agency action" or alleged failure to act with respect to

regulatory requirements and standards, permitting, and other administrative measures. Western

Radio Servs. Co. v. United States Forest Serv., 578 F.3d 1116, 1122-1123 (9th Cir. 2009)

(citation omitted), cert. denied, 559 U.S. 1106 (2010); see Wilkie v. Robbins, 551 U.S. 537, 551-

554 (2007) (describing the APA as the remedial scheme for vindicating complaints against

"unfavorable agency actions"); Webster v. Doe, 486 U.S. 592, 607 n.* (1988) (Scalia, J.,

dissenting) (explaining that the APA "is an umbrella statute governing judicial review of all

federal agency action" and that "if review is not available under the APA it is not available at

all").




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       Finally, the fact that Plaintiffs assert a constitutional claim makes no difference here,

because the Supreme Court has never held that the Constitution itself provides an across-the-

board right of action for all constitutional claims. Cf. Armstrong v. Exceptional Child Ctr., Inc.,

135 S. Ct. 1378, 1384 (2015) ("[T]he Supremacy Clause does not confer a right of action.").

Federal courts do have equitable authority in some circumstances "to enjoin unlawful executive

action." Id. at 1385. But that equitable power is "subject to express and implied statutory

limitations." Id. Thus, "[w]here Congress has created a remedial scheme for the enforcement of a

particular federal right," courts "have, in suits against federal officers, refused to supplement that

scheme with one created by the judiciary." Seminole Tribe of Fla. v. Florida, 517 U.S. 44, 74

(1996). Even if the equitable authority of an Article III court could ever extend to a case of this

sort, the APA provides "express . . . statutory limitations" that "'foreclose,'" Armstrong, 135 S.

Ct. at 1385 (citation omitted), Plaintiffs' asserted constitutional claims. Accordingly, Plaintiffs

have identified no valid private right of action and the Defendants are therefore entitled to

summary judgment as a matter of law.

       F. Plaintiffs' Ultra Vires Claims Fail as a Matter of Law.

       To the extent the Court determines it has Article III jurisdiction, Defendants are

nonetheless entitled to judgment as a matter of law. The President possesses broad discretionary

power under OCSLA to modify the withdrawal of areas from exploration or development, and he

also has authority under Article II, which was exercised by President Truman first to claim and

later to reserve the OCS as a petroleum reserve. The Court should exercise restraint in this area,

especially where the President himself has inherent constitutional authorities to exercise here as

well as significant discretionary authority granted to him by Congress under its Property Clause

power. Executive Order 13795 explicitly and appropriately invoked these authorities. See Exec.

Order No. 13795, 82 Fed. Reg. 20815 (Apr. 28, 2017). ("By the authority vested in me as


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President by the Constitution and the law of the United States of America, including the Outer

Continental Shelf Lands Act . . . ."). Accordingly, Plaintiffs' motion for summary judgment

should be denied, and Defendants' cross-motion for summary judgment should be granted.

       It bears noting as a threshold matter what is not at issue here. Plaintiffs assert only an

ultra vires claim; they do not challenge the president's exercise of discretion under OCSLA, nor

could they. The Supreme Court has long recognized that judicial review of presidential action is

"not available when the statute in question commits the decision to the discretion of the

President." Dalton v. Specter, 511 U.S. 462, 476 (1994); see also id. at 476 ("How the President

chooses to exercise the discretion Congress has granted him is not a matter for our review.");

United States v. George S. Bush & Co., 310 U.S. 371, 380 (1940) ("For the judiciary to probe the

reasoning which underlies this Proclamation would amount to a clear invasion of the legislative

and executive domains."); Tulare Cty. v. Bush, 306 F.3d 1138, 1141-42 (D.C. Cir. 2002).

               1. The Plain Language of OCSLA Leaves Withdrawals to the Discretion of
                  the President

       The authority to withdraw areas from leasing is provided in remarkably simple language

that leaves the nature, purpose, and duration of the withdrawal to the President's discretion.

Specifically, Section 12(a) of OCSLA provides:

       The President of the United States may, from time to time, withdraw from
       disposition any of the unleased lands of the outer Continental Shelf.

43 U.S.C. § 1341(a). Notably, Section 12(a) does not cabin the President's authority in any way,

other than to clarify that lands must be unleased in order to be withdrawn. Of relevance here,

Section 12(a) places no restrictions on the temporal scope of withdrawals. Section 12(a)

establishes that the President may exercise withdrawal authority "from time to time." And it

leaves the decision to withdraw—and the bases for doing so—entirely to the President, such that

the President may choose to exercise his authority for any reason. Section 12(a) also says nothing


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about the manner in which lands should be used or managed once withdrawn. Thus, the plain

language of the statute leaves it to the President's discretion when, for how long, and for what

purpose to withdraw areas from mineral development, with the only limitation that the President

must withdraw unleased land. Interpreting the statute to allow the President only to withdraw

areas – but not revoke those withdrawals – is contrary to that plain language.

       Moreover, it is a well-settled principle that government entities have broad authority to

reconsider decisions. See, e.g., Albertson v. FCC, 182 F.2d 397, 399 (D.C. Cir. 1950) ("The

power to reconsider is inherent in the power to decide."); Sierra Club v. Van Antwerp, 560 F.

Supp. 2d 21, 23 (D.D.C. 2008) (same). It is not possible to reconcile Plaintiffs' cramped view of

OCSLA with the general principle that reconsideration "is inherent in the power to decide." See,

e.g., Albertson, 182 F.2d at 399; Van Antwerp, 560 F. Supp. 2d at 23. A President is free to

revoke prior Presidents' executive orders, and take other actions—including reversals of prior

decisions—necessary to fulfill his constitutional duty to "take Care that the Laws be faithfully

executed." See U.S. Const., Art II, § 3; see also VIVIAN S. CHU & TODD GARVEY, CONG. RES.

SERV., RS20846, EXECUTIVE ORDERS: ISSUANCE, MODIFICATION, AND REVOCATION 7 (2014)

(https://fas.org/sgp/crs/misc/RS20846.pdf Last visited July 18, 2018)) ("The President is free to

revoke, modify, or supersede his own orders or those issued by a predecessor."). The plain

language therefore demonstrates that President Trump acted within his authority in modifying

President Obama's prior withdrawals and Defendants are entitled to judgment as a matter of law.

               2. The Legislative History of OCSLA Emphasizes the President's Discretion
                  Under OCSLA

       The legislative history of Section 12(a) of OCSLA also demonstrates that Congress

intended to delegate wide discretion to the President, including the authority to modify prior

withdrawals. Congress initially discussed the future use of withdrawn minerals in 1948, as part



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of the legislative process that ultimately led to the passage of OCSLA. Contrary to Plaintiffs'

assertions, Congressional discussions were not driven by a desire to protect environmental

resources from fossil fuel development. Further, there was never any suggestion in those

discussions that such withdrawals be irrevocable and permanent. Rather, Congress' grant of

withdrawal authority originated in large part from national security concerns and Congress'

desire to ensure availability of petroleum resources for future military use:

       The bill emphasizes the major premise of the vital relationship to our national
       security of the petroleum in the Continental Shelves beneath the open sea. It
       declares that the petroleum resources should be conserved as a national asset vital
       to the security of the Nation, and require the administration of the act to conform
       to that policy. The President is authorized to withdraw any of the submerged
       coastal lands from leasing under the act and reserve the oil deposits in the interest
       of national security, thus providing for the storage of petroleum underground for
       future military use.

Joint Hearings on S. 1988 & Similar House Bills Before the Comms. on the Judiciary, 80th

Cong. 737 (1948) (statement of Interior Secretary Julius Krug, describing a bill draft submitted

by the Truman Administration). Thus, ensuring "future use" of offshore mineral resources was

one of the driving considerations underlying the discussion of a withdrawal provision.

       This legislative history supports the conclusion that a President can modify or revoke

prior withdrawals. Under the reasoning set forth in this history, and the plain language of the

statute, the President can clearly withdraw an area from leasing for any purpose, including a

purpose other than permanent conservation. In other words, a President can withdraw areas from

leasing in order to preserve the minerals for future production as a national security matter or for

other reasons. This wide latitude necessarily includes Presidential authority to restore the area to

productive use.

       Congress' response to an objection by the Eisenhower administration further

demonstrates that Congress did not intend to make withdrawals irreversible or immutable under



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OCSLA Section 12(a). The Eisenhower administration objected to the proposed provision

authorizing withdrawal as unnecessary and suggested at minimum that the limitation of that

authority to withdrawals in the interest of national security be deleted. See Comment from J. Lee

Rankin, Assistant Attorney General, Office of Legal Counsel, S. Rep. 83-411 at 39 (1953) (Ex.

2). When the bill was reported from the Senate Interior and Insular Affairs Committee, that

phrase was deleted and the Committee explained that the explicit reference to reservation for

future military use was not necessary and "the authority of the President to withdraw certain

areas . . . should not be limited to security requirements." Id. at 26. Instead, the Committee

explained that "[t]he authority vested in the President by the amended section is comparable to

that which is vested in him with respect to federally owned lands on the uplands." Id. at 26. In

other words, in amending Section 10 of the bill as introduced (which later became Section

12(a)), Congress intended to provide increased discretion to the President. Nothing in the

legislative history reflects concern about the idea of a President modifying withdrawals to return

submerged lands to their primary purpose under the Act, viz., for leasing and development.

       While Plaintiffs assert that this legislative history supports their theory of the case, the

opposite is true; Congress' response to the concerns of the Eisenhower Administration makes

clear that the purpose of Section 12(a) was to give the President power to withdraw in the same

manner and to the same extent as permitted on the uplands. This is significant because, at the

time that OCSLA's Section 12(a) was enacted, federal statutes granting the authority to withdraw

uplands were historically understood to temporarily suspend the operation of a public land

disposal law, thus preserving the status quo until Congress or the Executive decides on the

ultimate disposition of the subject lands. S. Utah Wilderness All. v. Bureau of Land

Mgmt.(SUWA), 425 F.3d 735, 784 (10th Cir. 2005) (citing CHARLES F. WHEATLEY, JR., II STUDY




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OF WITHDRAWALS AND RESERVATIONS OF P UBLIC DOM AIN LANDS A–1 (1969) (report to Public

Land Law Review Commission) (http://hdl.handle.net/2027/wu.89041980905 Last visited July

18, 2018).

       The committee reports regarding OCSLA clearly state that Congress' purpose in Section

12(a) was to provide the withdrawal authority (and corresponding revision authority) similar to

that being exercised by the Executive Branch with respect to onshore federal lands and

resources. In sum, the legislative history confirms that Congress did not intend to impose an

unwritten restriction on the President's discretion concerning the withdrawal authority in section

12(a) of OCSLA and Defendants are entitled to judgment as a matter of law.

               3. The Purpose of OCSLA Supports the President's Wide Discretion to
                  Modify Prior Withdrawals

       The purpose of OCSLA further evidences that Congress did not intend to foreclose

presidential modification of withdrawals under OCSLA § 12(a). A "statute is passed as a whole

and not in parts or sections and is animated by one general purpose and intent. Consequently,

each part or section of a statute should be construed in connection with every other part or

section so as to produce a harmonious whole." 2A SUTHERLAND, STATUTES AND STATUTORY

CONSTRUCTION § 46:5 (7th ed. 2014). As the Supreme Court has explained, a "provision that

may seem ambiguous in isolation is often clarified by the remainder of the statutory scheme

. . . ." King v. Burwell, 135 S. Ct. 2480, 2493 (2015) (quoting United Sav. Ass'n of Tex. v.

Timbers of Inwood Forest Assoc., 484 U.S. 365, 371 (1988)).

       The conclusion that the President has the authority to modify prior withdrawals conforms

to the purpose of OCSLA. That purpose was stated clearly in the conference report as being "to

meet the urgent need for further exploration and development of the oil and gas deposits of the

submerged lands of the outer Continental Shelf." H.R. Rep. No. 83-1031, at 7 (1953) (Conf.



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Rep.). Indisputably, the central purpose of OCSLA as enacted in 1953 was to allow for

development of oil, gas, and other mineral resources. 13

       Notwithstanding that purpose, Plaintiffs posit that Section 12(a) of OCSLA must have

been intended to create permanent withdrawals—revocable only by Congress itself—because

anything less would make Section 12(a) superfluous of the Secretary of the Interior's discretion

to lease or not lease already contained in Section 8 of OCSLA. But, as noted above, the

committee report indicates that the intention was simply to assure that the President had the same

withdrawal authority on the OCS as he did onshore. The two authorities (leasing and withdrawal)

had coexisted onshore for thirty-three years by the time of OCSLA's enactment. The onshore

withdrawal authority predated onshore leasing authority by many decades and had been used to

prevent prospectors from establishing mining claims against the Government while alternative

uses were under consideration by Congress or the Executive. The addition of leasing authority in

the Mineral Leasing Act of 1920 gave the Secretary the authority to "not lease," but was not

understood to change the character of the withdrawal authority. To the extent that the history

reflects any specific reason for including withdrawal provisions in OCSLA, it was to give the

Commander in Chief a means of protecting national security interests, while leasing decisions

were vested in the Secretary of the Interior.




13 Indeed, and particularlyread in context of the overall purpose of the Act, Congress' use of the
term "withdrawal", as opposed to "reservation" reinforces the clear purpose of the Act that any
withdrawals were not intended to be permanent. "[A withdrawal] temporarily suspends the
operation of some or all of the public land laws, preserving the status quo while Congress or the
executive decides on the ultimate disposition of the subject lands." SUWA, 425 F.3d at 784-85
(citing CHARLES F. WHEATLEY, JR., STUDY OF WITHDRAWALS AND RESERVATIONS OF P UBLIC
DOM AIN LANDS, Vol. III (Rev. Sept. 1969)).



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       In sum, the context and stated purpose of OCSLA demonstrates that Congress intended to

delegate broad authority to the President to modify prior withdrawals under Section 12. The

stated purpose of OCSLA, after the statute was amended to add environmental considerations, is

to encourage the "expeditious and orderly" development of the minerals in the OCS. See 43

U.S.C. § 1332(3). To read into the statutory language an unstatí restriction on the President's

authority to modify prior withdrawals would be to ignore Congress' specific and explicit

statement of purpose.

               4. Past Conduct under OCSLA Demonstrates the President's Discretion

       Although the text, purpose, and history of OCSLA Section 12 amply demonstrate that

modification of prior withdrawals is within the scope of the President's delegated authority, that

conclusion is cemented by Presidential practice in modifying prior withdrawals. Of the only

twelve actions taken pursuant to OCSLA Section 12(a), at least five represent modifications of

prior withdrawals and two of them – or seventeen percent – represent reductions of prior

withdrawals.

       The language of Executive Order 13795, which is the subject of this challenge, is

virtually identical to the language used by President George W. Bush in 2008 to modify prior

presidential withdrawals, in which Congress acquiesced. 14 See supra § I.D. Moreover, under

Plaintiffs' theory, it would have been unconstitutional as well as illegal for President Barack



14 The area of the OCS that President Bush's order opened up for potential leasing was far greater

than the area affected by Executive Order 13795. President Bush undid withdrawals ordered by
President Clinton of OCS areas offshore California, Washington and Oregon, the North Atlantic,
Mid–Atlantic and South Atlantic planning areas, the eastern Gulf of Mexico, and the North
Aleutian Basin planning area. See Memorandum on Modification of the June 12, 1998,
Withdrawal of Certain Areas of the United States Outer Continental Shelf from Leasing
Disposition, 43 Weekly Comp. Pres. Docs. 19, 19 (Jan. 9, 2007) (ECF No. 13-11); Memorandum
on Modification of the Withdrawal of Areas of the United States Outer Continental Shelf from
Leasing Disposition, 44 Weekly Comp. Pres. Docs. 986 (July 14, 2008) (ECF No. 13-12).


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Obama to revoke his own withdrawal prior to the date it was to expire by its terms; under their

theory, only President Obama's successor would have the right to determine if it were to continue

past that date. Plaintiffs' view that revocation of a withdrawal requires congressional action also

was not shared by Presidents George H.W. Bush and William J. Clinton who expressly provided

in their 1990 and 1998 withdrawals that they could be revoked if necessary for national security.

        When the elected branches of government are in accord on the meaning of a statute,

courts are properly reluctant to intervene. "The longstanding 'practice of the government' can

inform [a court's] determination of 'what the law is.'" NLRB v. Canning, 134 S. Ct. 2550, 2560

(2014) (quoting M'Culloch v. Maryland, 17 U.S. (4 Wheat.) 316, 401 (1819); Marbury v.

Madison, 5 U.S. (1 Cranch) 137, 177 (1803)). Thus, courts afford a presumption of congressional

consent to presidential action that is "known to and acquiesced in by Congress" over an extended

period of time. United States v. Midwest Oil Co., 236 U.S. 459, 474 (1915); Dames & Moore v.

Regan, 453 U.S. 654, 686 (1981) (same); see also Medellin v. Texas, 552 U.S. 491, 524 (2008)

("Presidential authority can derive support from 'congressional inertia, indifference or

quiescence.'" (quoting Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 637 (1952)); Al-

Bihani v. Obama, 619 F.3d 1, 26 (D.C. Cir. 2010) (en banc) ("[C]ourts presume that Congress

authorized the President, except to the extent otherwise prohibited by the Constitution or statutes,

to take at least those actions that U.S. Presidents have historically taken . . . .").

        Plaintiffs assert that prior opinions by the U.S. Attorney General demonstrate that past

Administrations interpreted their statutory authorities to withdraw land as excluding the authority

to modify prior withdrawals. But those opinions pertain to reservations, not withdrawals, and

statutes enacted and opinions issued well before the enactment of OCSLA, and have no

relevance here. See, e.g., Camp Wright, California, 16 Op. Att'y Gen. 121 (1878) (discussing the




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conversion of military land to use as a tribal reservation by the Department of the Interior);

Military Reservation at Fort Fetterman, 17 Op. Att'y Gen. 168 (1881) (discussing the right to

return military land to public use); Naval Reservation-Restoration to Public Domain, 21 Op.

Att'y Gen. 120 (1895) (same); Camp Hancock-Transfer from War Dep't to Dep't of Agriculture,

28 Op. Att'y Gen. 143 (1910) (same); Proposed Abolishment of Castle Pinkney Nat'l Monument,

39 Op. Att'y Gen. 185 (1938) (discussing Antiquities Act).

           For example, while Plaintiffs rely on an Attorney General Opinion addressing the

President's authority under the Antiquities Act, see 39 Op. Att'y Gen at 188, that Act serves an

entirely different purpose than OCSLA. Unlike OCSLA, the Antiquities Act is intended to

protect objects of historic or scientific interest; it does not create a federal leasing authority nor

does it promote the development and production of mineral resources. The President's authority

to withdraw areas of the OCS from leasing under OCSLA is an exception to the primary purpose

of OCSLA which is the discovery and production of mineral resources, not the protection of

objects.

           But even if OCSLA and the Antiquities Act were more analogous, Plaintiffs' reliance on

the Attorney General Opinion would still be misplaced here, because Plaintiffs' incorrectly

assume that the President lacks the authority to modify national monuments under the

Antiquities Act. In fact, the President's authority to modify national monuments was affirmed in

the very 1938 opinion cited by Plaintiffs. See 39 Op. Att'y Gen at 188. Consequently, Plaintiffs

are wrong to interpret the President's withdrawal authority under Section 12(a) of OCSLA as

being permanent and irreversible. These irrelevant legal opinions cannot override the explicit

evidence that the Executive Branch has interpreted OCSLA Section 12(a) as permitting

modifications of prior withdrawals.




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       In fact, despite the rhetoric cited by Plaintiffs in their brief, and despite their contention

that withdrawals are intended to be permanent, President Obama—who revoked and modified

his own withdrawals—specifically left open the possibility of future modifications. President

Obama specified only that his withdrawals were being made for a "period without specific

expiration." See Memorandum on Withdrawal of Certain Areas off the Atlantic Coast on the

Outer Continental Shelf from Mineral Leasing, 2016 Daily Comp. Pres. Docs. 1, 1 (Dec. 20,

2016); Memorandum on Withdrawal of Certain Portions of the United States Arctic Outer

Continental Shelf from Mineral Leasing, 2016 Daily Comp. Pres. Docs. 1, 1 (Dec. 20, 2016).

               5. Withdrawal Authority Includes Authority to Modify or Revoke

       Plaintiffs cite several statutes in support of their argument that when Congress intended

to authorize the Executive to reverse withdrawals, it did so expressly, and that since Section

12(a) of OCSLA does not include the express power to revoke or modify such withdrawals, the

President lacks such power. Plaintiffs' citation to those statutes actually demonstrates the

opposite. As noted above, in reporting the bill that became OCSLA to grant to the President

broader withdrawal authority than the bill as introduced, the Senate committee said it was

vesting withdrawal authority "comparable to that which is vested in him with respect to federally

owned lands on the uplands." S. Rep. No. 83-411, at 26 (Ex. 2).

       The withdrawal authority generally vested in the President "on the uplands" in 1953

included the power to revoke or modify such withdrawals. Instructive of contemporaneous

understanding is a proclamation of President Truman dated barely more than a year before the

enactment of OCSLA. In Executive Order No. 10355 of May 26, 1952, the President had

delegated to the Secretary of the Interior:

       the authority vested in the President by section 1 of the act of June 25, 1910, ch.
       421, 36 Stat. 847 (43 U.S.C. [§] 141) and the authority otherwise vested in him to
       withdraw or reserve lands of the public domain and other public lands owned or


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          controlled by the United States in the continental United States or Alaska for
          public purposes, including the authority to modify or revoke withdrawals and
          reservations of such lands heretofore or hereafter made.

17 Fed. Reg. 4831 (May 26, 1952) (emphasis added). 15

          There were numerous authorities under which withdrawals were made in 1953. And there

was an active practice of Executive revocation and modification of withdrawals in that era. In

California alone, the Department revoked 167,451 acres of withdrawals in the period 1957-61

and 372,840 acres in 1962-64. CHARLES F. WHEATLEY, ET AL. STUDY OF WITHDRAWALS AND

RESERVATIONS OF P UBLIC DOM AIN LANDS 424 (1979) (Ex. 2). The principal statutory authority

for withdrawals was the Pickett Act, also known as the Withdrawal Act or the Act of June 25,

1910, ch. 421, 36 Stat. 847 (codified as amended at 43 U.S.C. §§ 141-143). That Act provided:

          That the President may, at any time in his discretion, temporarily withdraw from
          settlement, location, sale or entry any of the public lands of the United States,
          including the District of Alaska and reserve the same for water-power sites,
          irrigation, classification of lands, or other public purposes to be specified in the
          orders of withdrawals, and such withdrawals or reservations shall remain in force
          until revoked by him or by an Act of Congress.

          Another important authority was the Reclamation Act of 1902 which directed the

President to make withdrawals for irrigation purposes. 43 U.S.C. § 416 (1964). It further

provided that he would "restore to public entry any of the lands so withdrawn when, in his

judgment, such lands are not required for the purposes. . . ." Id. Many other statutes authorized

withdrawals for specific purposes. 16 Some expressly addressed the authority to restore

withdrawn lands to the public domain, while most did not. No statute expressly restricted the




15 This  statement was similar to Exec. Order No. 9146, 7 Fed. Reg. 9146 (Apr. 24, 1942), and
Exec. Order No. 9337, 8 Fed. Reg. 5516 (Apr. 24, 1943).
16 See, e.g., Stock Raising Homestead Act, 45 Stat. 1144, Sec. 10 (1916).



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traditional authority of the President or the Secretary to revoke or restore a withdrawal or

reservation.

       Moreover, Federal courts have recognized that the President had implied authority to

make withdrawals prior to the passage of these acts. In the landmark case of United States v.

Midwest Oil Co., et al., the Supreme Court upheld a 1909 withdrawal of petroleum lands as a

long continued practice acquiesced in by the Congress:

       The Executive, as agent, was in charge of the public domain; by a multitude of
       orders extending over a long period of time and affecting vast bodies of land, in
       many States and Territories, he withdrew large areas in the public interest. These
       orders were known to Congress, as principal, and in not a single instance was the
       act of the agent disapproved.

236 U.S. at 475.

       More importantly for purposes of the issue at bar, in an opinion concerning an executive

order transferring a portion of a Naval reservation to the Treasury Department, the same attorney

general whose opinion on Antiquities Act withdrawal is cited by plaintiffs, Attorney General

Cummings, opined that the general or implied authority of the President "to withdraw land from

the public domain for public purposes . . . necessarily implies the power to restore the land to the

public domain when it has served the purpose for which it was withdrawn. . .." Transfer to

Treasury Dep't Jurisdiction Over Portion of Naval Reservation, Ediz Hook Spit, Port Angeles

Harbor, Washington, 37 Op. Att'y Gen. 431, 432 (1934).

       Plaintiffs argue that OCSLA Section 12(a) must be narrowly construed because it

involves the exercise of Property Clause authority. This history just relayed, however,

demonstrates no such restriction. The Supreme Court in Midwest Oil made clear that Congress

can provide broad instructions which the President can implement at his discretion. There is

simply no basis for concluding that, if Congress chooses to provide a broad delegation, this court

must somehow constrain the discretion of another branch of government. In short, Defendants


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are entitled to judgment as a matter of law and Plaintiffs' motion for summary judgment should

be denied.

         G. Plaintiffs Are Not Entitled to An Injunction, Especially As Against the President

         As demonstrated in the previous sections of this brief, Defendants are entitled to

judgment as a matter of law. Accordingly, Plaintiffs are not entitled to an injunction. Most

particularly, Plaintiffs are not entitled to an injunction against the President.

         The separation of powers generally bars federal courts from issuing an injunction against

the President of the United States for official acts. See Franklin, 505 U.S. at 802–03 ("[I]n

general, 'this court has no jurisdiction of a bill to enjoin the President in the performance of his

official duties.'" (citation omitted)); Mississippi v. Johnson, 71 U.S. (4 Wall.) 475, 500 (1866)

("Neither [the Congress nor the President] can be restrained in its action by the judicial

department."); Hawaii v. Trump, 859 F.3d 741, 788 (9th Cir.) (per curiam), vacated and

remanded on other grounds, 138 S. Ct. 377 (2017); Newdow v. Bush, 355 F. Supp. 2d 265, 280-

82 (D.D.C. 2005) ("The prospect of this Court issuing an injunction against the President raises

serious separation of powers concerns."); see also Nixon v. Fitzgerald, 457 U.S. 731, 750 (1982)

("The President's unique status under the Constitution distinguishes him from other executive

officials.").

         The Supreme Court has left open the possibility that the President "might be subject to a

judicial injunction requiring the performance of a purely 'ministerial' duty," Franklin, 505 U.S. at

802—that is, a duty "in respect to which nothing is left to discretion," Mississippi, 71 U.S. at

498. Plaintiffs challenge no such ministerial acts here. Rather, they seek to enjoin the

discretionary act of the President in determining what areas of the OCS to lease and which to

withhold. Preventing such interference with the President's exercise of his official,

constitutionally prescribed duties is the very reason that courts generally prohibit an injunction


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against the President. See Clinton v. Jones, 520 U.S. 681, 718-19 (1997) (Breyer, J., concurring)

("[C]onstitutional principles counsel caution when judges consider an order that directly requires

the President properly to carry out his official duties."); Franklin, 505 U.S. at 827 (Scalia, J.,

concurring) (describing the "apparently unbroken historical tradition . . . implicit in the

separation of powers" that a President may not be ordered by the Judiciary to perform particular

Executive acts); Massachusetts v. Mellon, 262 U.S. 447, 488 (1923) ("The general rule is that

neither department may invade the province of the other and neither may control, direct, or

restrain the action of the other."). 17

        Further, the balance of equities weighs against the issuance of an injunction against the

President when less extraordinary relief can redress Plaintiffs' claimed harm. Plaintiffs have

available to them avenues to prevent any potential harm that may be caused by the geological

and geophysical surveys they fear, and thus they do not require an injunction in this case.

Specifically, Plaintiffs have the right to comment upon leasing and many other actions and

challenge – where standing and other jurisdictional requirements are satisfied – the permitting

and leasing decisions made by the Secretaries of the Interior and Commerce or their delegates.

For this additional reason, an injunction against the President would be improper. See Franklin,

505 U.S. at 803 (finding that plaintiffs' injuries could be redressed by entry of declaratory relief

against the Secretary of Commerce, but ultimately rejecting underlying claim); Swan v. Clinton,

100 F.3d 973, 979-81 (D.C. Cir. 1996) (bypassing issue of injunction against President by

finding that plaintiffs' alleged injuries are redressable against subordinate executive officials, but

ultimately rejecting underlying claim); Trump, 859 F.3d at 788 ("We conclude that Plaintiffs'




17 Defendants respectfully re-assert their arguments, set forth in ECF No. 13 § IV.D.,

establishing that the Plaintiffs are not entitled to Declaratory Judgment for the same reasons.


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injuries can be redressed fully by injunctive relief against the remaining Defendants."). Any

injuries that Plaintiffs may claim arising from executive action can be redressed through a

properly framed APA action against the agency defendants. See Franklin, 505 U.S. at 803.

Accordingly, "the extraordinary remedy of enjoining the President is not appropriate here," and

Defendants are entitled to judgment on Plaintiffs' claims against the President. Trump, 859 F.3d

at 788.

IV.       CONCLUSION

          President Trump's Executive Order 13795 was a valid exercise of his authority under the

Constitution and his authority under OCSLA Section 12(a). His exercise of the discretionary

authority granted under Section 12(a) was fully consistent with the clear and unambiguous

statutory purpose. Moreover, his modification of prior withdrawals reflects past practice of

Presidents and an appropriate reflection of the President's broad authority to reconsider

decisions. For these reasons, and the reasons set forth above, Defendants are entitled to summary

judgment and Plaintiffs' motion for summary judgment should be denied.

 Dated: July 18, 2018                          Respectfully submitted,
                                               JEFFREY WOOD
                                               Acting Assistant Attorney General
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                                     Certificate of Service


       I hereby certify that on July 18, 2018, I filed the foregoing with the Clerk of Court using

the CM/ECF system, which will provide service to all attorneys of record.

                                                  _________________________
                                                  Sarah D. Himmelhoch
                                                  Attorney for Defendants




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